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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MARYLAND

SECURITIES AND EXCHANGE                    *
COMMISSION
             Plaintiff                     *          Case No. 1:17-cv-03230-CCB

            v.                             *

PHILIP R. JACOBY, et al.,                  *
              Defendants                   *

           STIPULATED DISMISSAL OF DEFENDANT GREGORY I. LAW

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A), plaintiff United States Securities and Exchange

Commission (“SEC”) hereby submits this notice of stipulation of dismissal of all claims against

Defendant Gregory I. Law. All parties have stipulated to Defendant Law’s dismissal.

       Respectfully submitted this 23rd day of September, 2019.


                                                 /s/_Nicholas P. Heinke________________
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                                                EXCHANGE COMMISSION
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                               CERTIFICATE OF SERVICE

       I certify that on September 23, 2019, I caused the foregoing document to be electronically

filed with the Court using the ECF system, which will send notification of such filing to ECF-

registered counsel.

                                                   /s/ Nicholas P. Heinke___________
                                                   Nicholas P. Heinke
